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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               Case No. 17-CV-24733-WILLIAMS

   KIPU SYSTEMS LLC,

           Plaintiff,

   vs.

   ZENCHARTS LLC, et al.,

        Defendants.
   _________________________________/

                                            ORDER

           THIS MATTER is before the Court on Judge Edwin G. Torres’ Report and

   Recommendation (DE 410) on Plaintiff’s Motion for a charging order against Sean

   Callahan and Richard Glaser (DE 363). The Parties did not file objections to the Report

   and the time to do so has now passed. Based upon an independent review of the Report

   and the full record in this case, the Court ORDERS AND ADJUDGES that:

           1.      Judge Torres’ Report (DE 410) is ADOPTED AND AFFIRMED.

           2.      Plaintiff’s motion for a charging order (DE 363) is GRANTED.

           DONE AND ORDERED in chambers in Miami, Florida this 29th day of September,

   2021.
